      Case 1:12-cr-00053-SCJ-RGV Document 40 Filed 02/07/13 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


UNITED STATES OF AMERICA                   )
                                           )       CRIMINAL ACTION NO.:
       V.                                  )       1:12-CR-053-SCJ/RGV
                                           )
HEATHER COTE                               )


                                           ORDER

       Upon motion of the defendant, and for good cause shown, Defendant is hereby permitted to

withdraw without prejudice her previously filed motion to compel discovery.

       SO ORDERED this __ day of February, 2013.



                                    RUSSELL G. VINEYARD
                                    UNITED STATES MAGISTRATE JUDGE

PRESENTED BY:

V. Natasha Perdew Silas
State Bar No. 571970
Federal Defender Program, Inc.
Suite 1500, Centennial Tower
101 Marietta Street
Atlanta, Georgia 30303
Case 1:12-cr-00053-SCJ-RGV Document 40 Filed 02/07/13 Page 2 of 2
